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                        U nit e d St at es Dist ri ct C o u rt E ast e r n Dist ri ct of N e w Y o r k

    D at e: S e pt e m b e r 7, 2 0 2 3,                                                   Ti m e: 2: 0 0 P M
    C o u rt R e p o rt e r: A nt h o n y F ris ol o n e
    C as e N u m b e r: M D L 0 5 -1 7 2 0 ( M K B)( V M S)
    C as e C a pti o n: I n r e P a y m e nt C a r d I nt e r c h a n g e F e e & M e r c h a nt Dis c o u nt A ntit r ust


     G arr y C ar n e y                                    M ast er c ar d

     Mi c h a el S h ust er                                M ast er c ar d

     D e mi a n Or d a y                                   Vis a

     B oris B ers ht e y n                                 J P M or g a n

     K a m ali Will et                                     J P M or g a n

     Al b ert B a c h ar a c h                             J a c k R a b bi

     M a n u el D o mi n g u e z                           Ol d J eri c h o Pl ai ntiffs

     Cr ai g Wilf a n g                                    ( b)( 3) Cl ass

     L a d di e M o nt a g u e                             ( b)( 3) Cl ass

     Mi c h a el K a n e                                   ( b)( 3) Cl ass

     Al e x a n dr a B er n a y                            ( b)( 3) Cl ass
     St e v e S h a d o w e n                              ( b)( 2) Cl ass

     Li n d a N uss b a u m                                ( b)( 2) Cl ass

     J effr y S hi n d er                                  7 -El e v e n

     B o b Vi z as                                         Vis a

     Ali ci a C o b b                                      H o m e D e p ot

     St ei g D. Ols o n                                    H o m e D e p ot

     A m y V e g ari                                       W ells F ar g o
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                        U nit e d St at es Dist ri ct C o u rt E ast e r n Dist ri ct of N e w Y o r k

     P a ul S c h o e m a n                        W al m art

     J a n a Eisi n g er                           Br a n d e d O p er at ors

     J o h n P e nt z                              U nli mit e d V a c ati o ns

     Cr ai g Wilf a n g                            ( b)( 3) Cl ass

     L a d di e M o nt a g u e                     ( b)( 3) Cl ass

     P atri c k C o u g hli n                      ( b)( 3) Cl ass

     Al e x a n dr a B er n a y                    ( b)( 3) Cl ass

     St e v e S h a d o w e n                      ( b)( 2) Cl ass

     Li n d a N uss b a u m                        ( b)( 2) Cl ass

     J effr y S hi n d er                          7 -El e v e n

     B o b Vi z as                                 Vis a

     Ki m H urli h y                               Gr u b h u b

     Ali ci a C o b b                              H o m e D e p ot

     K at h y P atr ic k                           T ar g et

     A m y V e g ari                               W ells F ar g o

     M elit a W all a c e                          C o h e n Milst ei n

     D o n n a I offr e d o                        P a ul W eiss f or M ast er c ar d
                                                   D ef e n d a nts
     R y a n M art h                               R ul e 2 3( b)( 3) Pl ai ntiffs

     T o m U n dli n                               R ul e 2 B( 6)( 3) Pl ai ntiffs

     J o e G ol d b er g                           R ul e 2 B ( 6)( 3) Pl ai ntiffs

     M att h e w Eis e nst ei n                    Ar n ol d a n d P ort er ( Vis a)

     P a ul R ot hst ei n                          J a c k R a b bit
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                       U nit e d St at es Dist ri ct C o u rt E ast e r n Dist ri ct of N e w Y o r k

     M ar k Rif ki n                                     Wilf H al d e nst ei n

     A b b y R u d zi n                                  C a pit al O n e

     M ar c Gr e e n w al d                              Q ui n n E m a n u el

     B e nj a mi n R. N a gi n                           Citi

     * * * T h e n a m es list e d ar e t h e i n di vi d u als w h o si g n e d i n a n d/ or s p o k e;
     S e v er al ot h er p arti es m a y h a v e b e e n pr es e nt i n t h e C o urtr o o m b ut di d
     n ot s p e a k or si g n i n wit h t h e C o urt.
